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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                   December 27, 2021
                         UNITED STATES DISTRICT COURT                               Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

WAYNE SMITH,                                   §
                                               §
       Plaintiff,                              §
                                               §
V.                                             §         CIVIL ACTION NO. 4:21-CV-3079
                                               §
DAVID HITTNER and                              §
MTGLQ INVESTORS LP,                            §
                                               §
       Defendant.

                      MEMORANDUM AND RECOMMENDATION

       Pending before the Court1 is Defendant Judge David Hittner’s Motion to Dismiss.2 Based

on a thorough review of the motion, arguments, and relevant law, the Court RECOMMENDS that

Defendant Judge Hittner’s Motion to Dismiss be GRANTED and the case against him be

DISMISSED WITH PREJUDICE.

I.     BACKGROUND

       This case stems from a prior mortgage foreclosure case filed by Plaintiff in the Southern

District of Texas on May 4, 2019 against Defendant MTGLQ Investors, LP (“MTGLQ”).3 The

prior case, Civil Action No. H-19-1888, was assigned to Defendant Judge Hittner.4 On August 23,

2019, Defendant Judge Hittner granted Defendant MTGLQ’s motion to dismiss for failure to state




       1
          This case was referred to the Undersigned Magistrate Judge pursuant to 28 U.S.C.
§636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. (See Dkt. No. 5.)
       2
         Dkt. No. 20.
       3
         Id. at 1.
       4
         Id.
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a claim.5 On September 17, 2019, Plaintiff appealed Defendant Judge Hittner’s decision.6 On

August 17, 2021, the Fifth Circuit affirmed Defendant Judge Hittner’s decision.7 On September

17, 2021, Plaintiff filed the instant case against Defendant Judge Hittner and Defendant MTGLQ,

alleging civil rights violations.8

II.     LEGAL STANDARD

        A complaint may be dismissed if the Court lacks subject matter jurisdiction over an action.

Fed. R. Civ. P. 12(b)(1). “A case is properly dismissed for lack of subject matter jurisdiction when

the court lacks the statutory or constitutional power to adjudicate the case.” Home Builders Ass’n

of Mississippi, Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998) (quoting Nowak

v. Ironworkers Local 6 Pension Fund, 81 F.3d 1182, 1187 (2d Cir. 1996)). In evaluating subject

matter jurisdiction on a motion to dismiss, the Court may consider “(1) the complaint alone, (2)

the complaint supplemented by undisputed facts evidenced in the record, or (3) the complaint

supplemented by undisputed facts plus the court’s resolution of disputed facts.” Tewari De-Ox

Sys., Inc. v. Mountain States/Rosen Liab. Corp., 757 F.3d 481, 483 (5th Cir. 2014).

III.    ANALYSIS

        Plaintiff’s claims against Defendant Judge Hittner are barred by judicial immunity. “Judges

are afforded absolute immunity when they perform a normal judicial function unless they are

acting in the clear absence of all jurisdiction.” Duke v. Wallace, No. 4:19-CV-3353, 2020 WL

1650768, at *1 (S.D. Tex. Mar. 26, 2020) (citing Stump v. Sparkman, 435 U.S. 349, 356–57, 360




        5
          Id.
        6
          Id.
        7
          Id.
        8
          See Dkt. No. 1.
2/4
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(1978)). “Like other forms of official immunity, judicial immunity is an immunity from suit, not

just from ultimate assessment of damages.” Mireles v. Waco, 502 U.S. 9, 11 (1991). This immunity

is not overcome by allegations of bad faith or malice. Id.

       It is evident from Plaintiff’s complaint that his allegations against Defendant Judge Hittner

all pertain to judicial actions that he took in his judicial capacity while presiding over the prior

lawsuit, and that his actions were not performed in clear absence of all jurisdiction. See Mitchell

v. McBryde, 944 F.2d 229, 230 (1991). Accordingly, Defendant Judge Hittner has absolute

immunity and his Motion to Dismiss should be granted. See also Santos v. Rosenthal, No. CV

4:09-904, 2009 WL 10714411, at *1 (S.D. Tex. June 3, 2009); Duke, 2020 WL 1650768, at *1.

IV.    CONCLUSION

       Based on the foregoing, the Court RECOMMENDS that Defendant Judge Hittner’s

Motion to Dismiss be GRANTED and the case against him be DISMISSED WITH

PREJUDICE.

       The Clerk shall send copies of this Memorandum and Recommendation to the respective

parties who have fourteen days from the receipt thereof to file written objections thereto pursuant

to Federal Rule of Civil Procedure 72(b) and General Order 2002-13. Failure to file written

objections within the time period mentioned shall bar an aggrieved party from attacking the factual

findings and legal conclusions on appeal.

       The original of any written objections shall be filed with the United States District Clerk

electronically. Copies of such objections shall be mailed to opposing parties and to the chambers

of the Undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.




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       SIGNED in Houston, Texas on December 27, 2021.




                                              Sam S. Sheldon
                                              United States Magistrate Judge




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